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                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF GEORGIA
                                 AUGUSTA DIVISION

                                                Chapter 11
 IN RE:
                                                Case No. 18-10274 (SDB)
 FIBRANT, LLC, et al.,
                                                (Jointly Administered)
                            Debtors.


 FIBRANT, LLC, EVERGREEN NYLON
 RECYCLING LLC, FIBRANT SOUTH CENTER,
 LLC, GEORGIA MONOMERS COMPANY, LLC,
 CHEMICAINVEST HOLDING, B.V., and
 AUGUSTA LIQUIDATIONS, LLC,

          Plaintiffs,

 v.

 ACE PROPERTY & CASUALTY INSURANCE
 COMPANY, a corporation, UNITED STATES FIRE
 INSURANCE COMPANY, a corporation,
 CENTURY INDEMNITY COMPANY, a
 corporation, ADMIRAL INSURANCE COMPANY,
 a corporation, MT. MCKINLEY INSURANCE          Adversary Proceeding
 COMPANY, a corporation, COLUMBIA
 CASUALTY COMPANY, a corporation,               No. 19-01016 (SDB)
 CONTINENTAL CASUALTY COMPANY, a
 corporation, THE CONTINENTAL INSURANCE
 COMPANY, a corporation, CERTAIN
 UNDERWRITERS AT LLOYD’S, LONDON, a
 corporation, CERTAIN LONDON MARKET
 COMPANIES, corporations, STARR INDEMNITY
 & LIABILITY COMPANY, a corporation,
 BERKSHIRE HATHAWAY SPECIALTY
 INSURANCE COMPANY, a corporation, FIRST
 STATE INSURANCE COMPANY, a corporation,
 ALBA GENERAL INSURANCE COMPANY
 LIMITED, a corporation, THE DOMINION
 INSURANCE COMPANY LIMITED, a corporation,
 EXCESS INS. CO. TO HFPI LTD., a corporation,
 ASSICURAZIONI GENERALI SPA, a corporation,
 HELVETIA ACCIDENT SWISS INSURANCE


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    COMPANY LIMITED, a corporation, LONDON
    AND EDINBURGH GENERAL INSURANCE
    COMPANY LIMITED, a corporation, RIVER
    THAMES INSURANCE COMPANY LIMITED, a
    corporation, STRONGHOLD INSURANCE
    COMPANY LIMITED, a corporation, HARPER
    INSURANCE LTD., a corporation, ARGONAUT
    NORTHWEST INSURANCE COMPANY, a
    corporation, DELTA-LLOYD NON-LIFE
    INSURANCE COMPANY LIMITED, a corporation,
    NATIONAL CASUALTY COMPANY, a
    corporation, NATIONAL CASUALTY COMPANY
    OF AMERICA LIMITED, a corporation,
    NATIONAL UNION FIRE INSURANCE
    COMPANY OF PITTSBURGH, PA, a corporation,
    LEXINGTON INSURANCE COMPANY, a
    corporation, THE NORTH RIVER INSURANCE
    COMPANY, a corporation, HOME INSURANCE
    COMPANY, a corporation, ALLSTATE
    INSURANCE, a corporation, PROTECTIVE
    NATIONAL INSURANCE COMPANY, a
    corporation, ZURICH INTERNATIONAL, a
    corporation, LIBERTY MUTUAL, a corporation,

          Defendants.




                                    JOINT STATUS REPORT

         This adversary proceeding is a declaratory judgment action in which the Plaintiffs seek a

determination regarding coverage under certain historic insurance policies, issued by the Insurer

Defendants,1 for funding of past and ongoing environmental liabilities. On October 3, 2019, the

parties filed a joint motion to stay this action pending the outcome of mediation between the

parties. On October 17, 2019, the Court ordered the action stayed. As part of the Court’s order,

the parties were required to file an initial joint status report on December 16, 2019, and



1
      As these terms are defined in the Joint Status Report filed March 19, 2020 (Dkt. 37) and the
      Complaint for Declaratory Judgment filed in the adversary proceeding (Dkt. 1).

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subsequent status reports each 90 days thereafter while the matter is stayed, pending further

order of the Court. Plaintiffs and the Defendant Insurers jointly file this status report in

compliance with the Court’s order and report the following.

       As the parties previously advised, Plaintiffs and several of the Insurer Defendants have

successfully resolved this matter through mediation. Since the last status report, Plaintiffs have

reached agreement in principle with another Insurer Defendant. Plaintiffs have agreed to settlement

term sheets with certain Insurer Defendants and those parties are in the process of memorializing

those settlements, including draft long-form agreements. Part of these resolutions involve the

Insurer Defendants’ desire to achieve a comprehensive and definitive resolution, which entails the

parties presenting the Court with a proposal to establish protective mechanisms to bar future claims

against the insurers. Plaintiffs and the settling Insurer Defendants hope to present that proposal to

the Court as part of a joint submission that will resolve the adversary proceeding for those settling

Insurer Defendants.

       At the same time, the mediator, Tim Gallagher of the Gallagher Law Group, continues to

facilitate settlement discussions among Plaintiffs and the remaining non-settling Insurer

Defendants. Those discussions are continuing and the parties agree the negotiations would benefit

from an additional two weeks to determine whether settlements can be agreed upon with the

remaining Insurer Defendants.

       Accordingly, the parties anticipate being able to advise the Court within the next 14 days

whether additional settlements can be achieved. In the event settlement cannot be reached with

one or more of the remaining Insurer Defendants, Plaintiffs will inform the Court and the parties

will confer regarding lifting the stay to efficiently resolve the remaining disputes.




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       The parties respectfully submit this joint status report to the Court. The parties will submit

the next status report on October 5, 2022, or provide an earlier interim report on the status of

negotiations, absent further direction by the Court.



Date: September 21, 2022                      Respectfully submitted,

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                                    Company; World Auxiliary Insurance Company
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                                    Winterthur (No. 2A/C); Accident & Casualty
                                    Insurance Company of Winterthur (No. 3A/C); New
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                                    Scottish Lion Insurance Company Limited); Starr
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                                    Insurance Company Ltd As Successor To London &
                                    Edinburgh General Insurance Company Ltd));
                                    Assicurazioni Generali Spa (Uk Branch); Helvetia
                                    Accident Swiss Insurance Company Limited;
                                    London And Edinburgh General Insurance
                                    Company Limited; River Thames Insurance
                                    Company Limited; Harper Insurance Ltd F/K/A
                                    Turegum Ins Co; Argonaut Northwest Insurance


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                                    Company; Argonaut Northwest Insurance
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                                  CERTIFICATE OF SERVICE


       I hereby certify that I have on this day electronically file the foregoing JOINT STATUS

REPORT with the Clerk of the Court using the CM/ECF system, which will automatically send

electronic mail notification of such filing to all attorneys of record.


Date: September 21, 2022
                                               /s/ Brook B. Roberts

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